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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                                 ORDER
                            Plaintiff,
                                                                 07-cr-139-bbc
              v.

KATRICE ETCHIN,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant Katrice Etchin moved to suppress evidence seized from her apartment

when law enforcement officers conducted a search of the apartment under a warrant issued

by a judge of the Circuit Court for Dane County. The magistrate judge recommended denial

of the motion in a report and recommendation entered on December 18, 2009. Defendant

has objected to the recommendation.

       After reviewing defendant’s objections, the magistrate judge’s report; and the parties’

briefs, I am persuaded that the magistrate judge’s recommendation is correct, for the reasons

stated in his December 18 report and in his earlier report, addressing a motion to suppress

the same evidence filed by defendant’s co-defendant, Maurice Bowman. It is not necessary

to add to his thorough analysis of the facts and law.


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                                      ORDER

      IT IS ORDERED that the report entered by United States Magistrate Judge Stephen

L. Crocker is ADOPTED as the court’s own and defendant Katrice Etchin’s motion to

suppress the evidence seized from her apartment on October 28, 2007 is DENIED.

            Entered this 2nd day of January, 2009.

                                       BY THE COURT:

                                       /s/

                                       BARBARA B. CRABB
                                       District Judge




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